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 See Attached - Stipulation of Dismissal




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Randall C. Lohan                                        C. Garfinkel                                           10/31/2024


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